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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,

                               Plaintiff,
                                                           Case No. 24-CR-556 (DEH)
                       -against-

ERIC ADAMS,

                      Defendant.




  DECLARATION OF AVI PERRY IN SUPPORT OF DEFENDANT ERIC ADAMS’S
      MOTION FOR AN EVIDENTIARY HEARING AND FOR SANCTIONS

       I, Avi Perry, hereby declare as follows under 28 U.S.C. § 1746:

       1.      I am an attorney at Quinn Emanuel Urquhart & Sullivan, LLP and counsel for

Defendant Eric Adams in this action. I am an attorney licensed to practice in the State of New

York, and admitted before the United States District Court for the Southern District of New York.

I make this Declaration in support of Defendant Adams’s Motion for an Evidentiary Hearing and

for Sanctions. This Declaration is based on my personal knowledge, and if called upon to do so, I

would testify competently to the facts set forth herein.

       2.      Attached hereto as Exhibit 1 is a true and correct copy of a letter from counsel for

Mayor Adams to the government, dated June 6, 2024.

       3.      Attached hereto as Exhibit 2 is a true and correct copy of a letter from counsel for

Mayor Adams to the government, dated August 13, 2024.

       4.      Attached hereto as Exhibit 3 is a true and correct copy of a letter from counsel for

Mayor Adams to the government, dated September 30, 2024.
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       I declare under penalty of perjury that the foregoing is true and correct. Executed in

Washington, D.C. on this 1 st day of October, 2024



                                                     /s/ Avi Perry
                                                     Avi Perry




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